Case 1:04-cv-01312-.]DT-STA Document 12 Filed 08/23/05 Page 1 of 2 Pag/e|D 10
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United States DiStrict Court @"/i’ ¢-<.,_9

 

 

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WESTERN DISTRICT oF TENNESSEE ¢Q,,;,§;§yc;.¢)
Eastem Division '"fé'}//O<F»’?/

JUDGMENT IN A CIVIL CASE

HOWARD RUSSELL SCALES,

V.

CHARLES TRAUGHBER, ET AL., CASE NUN|BERZ 1204-1312-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

|T |S ORDERED AND ADJUDGED that in compliance With the order entered in
the above-styled matter on 8/23/2005, P|aintiff‘s iViotion to Withdrawa| Civi| Rights
Lawsuit is GRANTED and this action is hereby D|SM|SSED pursuant to Fed. R. Civ. P.

41(3)(2)_

APPROVED:

@?/JWA 3 ' M
JA S D. TODD
ED STATES DISTRICT ]UDGE

THOMAS M. GOULD

 

 

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DATE i / DEPUTY CLERK
This document entered on the docket sheet in compliance
with Ru|e 58 andfor 79(3) FRCP on .§

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 12 in
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Honorable J ames Todd
US DISTRICT COURT

